                                                         Exhibit A

                                       AP SERVICES, LLC
           Summary of Compensation and Expenses – Pacific Gas and Electric Company, et al.
                     For the Period February 1, 2020 through February 29, 2020

Professional Fees                                                           $                                        6,280,993.50
Expenses                                                                                                               558,703.36
Total Invoice                                                               $                                        6,839,696.86




Note: In accordance with the Order Granting Fee Examiner's Motion to Approve Fee Procedures in the PGE Corporation and
Pacifice Gas and Electric Company chapter 11 cases, entered on November 15, 2019 (the "Order"), this invoice is inclusive of
compensation for fees assocaited with non-working airplane travel time incurred by AP Services, LLC professionals during the
billing period. Per the Order, compensation is allowed in these cases for non-working airplane travel time up to two hours per
processional per one-way trip. All fees associated with non-working airplane travel time incurred by AP Services, LLC professionals
in excess of the two hour cap and been written off. The aggregate fees for excess non-working airplane travel time that has been
absorbed by AP Services, LLC for the February 2020 billing period was $748,726.50.




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